Case 2:12-md-02323-AB Document 8351-6 Filed 09/05/17 Page 1 of 16




         Exhibit E
Case 2:12-md-02323-AB Document 8351-6 Filed 09/05/17 Page 2 of 16
Case 2:12-md-02323-AB Document 8351-6 Filed 09/05/17 Page 3 of 16
Case 2:12-md-02323-AB Document 8351-6 Filed 09/05/17 Page 4 of 16
Case 2:12-md-02323-AB Document 8351-6 Filed 09/05/17 Page 5 of 16
Case 2:12-md-02323-AB Document 8351-6 Filed 09/05/17 Page 6 of 16
Case 2:12-md-02323-AB Document 8351-6 Filed 09/05/17 Page 7 of 16
Case 2:12-md-02323-AB Document 8351-6 Filed 09/05/17 Page 8 of 16
Case 2:12-md-02323-AB Document 8351-6 Filed 09/05/17 Page 9 of 16
Case 2:12-md-02323-AB Document 8351-6 Filed 09/05/17 Page 10 of 16
Case 2:12-md-02323-AB Document 8351-6 Filed 09/05/17 Page 11 of 16
Case 2:12-md-02323-AB Document 8351-6 Filed 09/05/17 Page 12 of 16
Case 2:12-md-02323-AB Document 8351-6 Filed 09/05/17 Page 13 of 16
Case 2:12-md-02323-AB Document 8351-6 Filed 09/05/17 Page 14 of 16
Case 2:12-md-02323-AB Document 8351-6 Filed 09/05/17 Page 15 of 16
Case 2:12-md-02323-AB Document 8351-6 Filed 09/05/17 Page 16 of 16
